        Case 1:15-cv-04381-WSD Document 1 Filed 12/16/15 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


Brian L. Miles                           :
      Plaintiff,                         :          Case No.:
vs.                                      :          Complaint With
                                                    Jury Trial Demand
Zwicker and Associates, P.C., a             :
professional corporation organized       :
under the State of Georgia                  :
      Defendant

                    Complaint Seeking Damages For Violations

                    Of The Fair Debt Collection Practices Act


                             Preliminary Statement

      This action seeks redress for the unlawful and deceptive practices committed

by the Defendant in connection with its efforts to collect a debt. Defendant’s

conduct involves the making of false and misleading statements to the Plaintiff or

others, mischaracterizing a debt, and taking action that cannot be legally taken.

Plaintiff seeks monetary relief based on Defendants' violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq

                                     Parties

   1. Plaintiff, Brian L. Miles, is natural person who resides in Newton County,


                                        0
     Case 1:15-cv-04381-WSD Document 1 Filed 12/16/15 Page 2 of 4



   Georgia.

2. Plaintiff is allegedly obligated to pay a debt and is therefore a “consumer” as

   that term is defined by 15 U.S.C. § 1692a(3).

3. Defendant, Zwicker and Associates, P.C. (hereinafter “Zwicker”) does

   business in Georgia.

4. Defendant uses interstate commerce or mail in business the principal

   purpose of which is the collection of any debts and/or regularly collects or

   attempts to collect, directly or indirectly, debts owed or due or asserted to be

   owed or due another and is therefore a “debt collector” as that term is

   defined by 15 U.S.C. § 1692a(6).

                          Jurisdiction and Venue

5. Because this case arises under the Fair Debt Collection Practices Act, 15

   U.S.C. § 1692 et seq., jurisdiction of this Court arises under 28 U.S.C. §

   1331, and supplemental jurisdiction for state law claims arises under 28

   U.S.C. § 1367.

6. Venue is proper in this Court because a substantial part of the claim arose in

   Georgia, and all Defendants “reside” in Georgia, as that term is used in 28

   U.S.C. § 139.

                             Factual Allegations

7. On or about November 12, 2015, Defendant, through its agent and


                                       3
        Case 1:15-cv-04381-WSD Document 1 Filed 12/16/15 Page 3 of 4



      employee, Floyd Dickens III, Esq., filed a civil action in the Superior Court

      of Newton County, State of Georgia, on behalf of American Express Bank,

      FSB, seeking collection of a debt allegedly owed by the Plaintiff.

8. The alleged debt which is the subject matter of Defendant’s complaint was,

      at the time of filing, barred by the applicable statute of limitations.

9. Upon information and belief, Defendant through its agents and employees

      took other collection action against the Plaintiff, including telephone calls

      and other written communications.

                                    Trial By Jury

      Plaintiff is entitled to and hereby requests a trial by jury.

                                  Causes Of Action

                                     Count One

VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

10.         The allegations of paragraphs 1-9 above are realleged and

      incorporated herein by reference.

11.         Defendant's actions in connection with its attempts to collect the

      alleged debt violated the FDCPA, including without limitation 15 U.S.C. §§

      1692e(2), 1692e(5), and 1692f.

12.         As a result of Defendant’s violations of the FDCPA, Plaintiff has

      suffered actual damages not limited to out-of-pocket expenses and emotional


                                           4
           Case 1:15-cv-04381-WSD Document 1 Filed 12/16/15 Page 4 of 4



         distress. Plaintiff is therefore entitled to recover actual damages under 15

         U.S.C. § 1692k.

   13.            Under 15 U.S.C. § 1692k, Plaintiff is also entitled to recover from

         Defendant $1,000 in statutory damages and reasonable attorney’s fees and

         costs.

         WHEREFORE, Plaintiff prays that judgment be entered against these

Defendants for:

         a.) Plaintiff’s actual damages;

         b.) Statutory damages against pursuant to 15 U.S.C. § 1692k;

         c.) Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k; and

         d.) Such other and further relief as may be just and proper.

Respectfully submitted this 8 th day of December, 2015.

                                                /s/ Matthew T. Berry
                                                Plaintiff's Attorney
                                                Matthew T. Berry, Bar No.: 055663
                                                Berry & Associates
                                                2751 Buford Highway, Suite 600
                                                Atlanta, GA 30324
                                                Ph. (404) 235-3334
                                                Fax (404) 235-3333
                                                matt@mattberry.com




                                            5
